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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


STEVES AND SONS, INC.,

        Plaintiff,

V.                                                   Civil Action No. 3:16-cv-545


JELD-WEN, INC.,

      Defendant.




                                   MEMORANDUM OPINION


      This matter is before the Court on JELD-WEN, INC.'S MOTION

FOR JUDGMENT AS A MATTER OF LAW AGAINST STEVES & SONS, INC. (ECF

No. 968), to the extent that JELD-WEN, Inc. (JELD-WEN") seeks

judgment     as       a   matter       of    law    on    Steves     and        Sons,     Inc.'s

("Steves")       breach     of   contract       claim     as   far    as    that       claim    is

based     on;     (1)     JELD-WEN's         failure      to   reimburse             Steves    for

defective       doorskins;       and    (2)    JELD-WEN's       failure         to     reimburse

Steves    for     the     cost     of       doors    manufactured          by    Steves       that

incorporated          defective        doorskins         (as   pleaded          in     paragraph

numbers    121     through       132    of    the    Complaint       and    in       COUNT    TWO,

paragraph       181   and   as    reflected         in   the   VERDICT      FORM       (ECF    No.

1022), paragraphs 8, 9, 10 and 11.                        The Court previously took

those issues under advisement when it resolved the rest of JELD-

WEN's motion. See ECF No. 1042 at 2. For the reasons set forth

below, JELD-WEN, INC.'S MOTION FOR JUDGMENT AS A MATTER OF LAW
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AGAINST STEVES & SONS, INC. (EOF No. 968) will be granted as to

COUNT TWO on those specific issues and paragraphs 8, 9, 10, and

11 of the verdict will be vacated.


                                BACKGROUND


      Steves is an independent manufacturer of interior molded

doors, and it relies primarily on JELD-WEN to supply it with the

doorskins needed to make the doors. See Summary Judgment Op.

(ECF No. 976) at 2. Accordingly, on May 1, 2012, Steves and

JELD-WEN entered into a long-term supply agreement ("the Supply

Agreement"), pursuant to which Steves would purchase interior

molded doorskins from JELD-WEN. See Supply Agm't (ECF No. 1114-

1) at 1. That Agreement contained a doorskin quality provision

that stated:


            The   [doorskins]   will   at   all   times   be   of   a
            quality   satisfactory  to   STEVES,   meeting
            JELD-WEN's   specifications,   fit   for   the
            intended purpose, and subject to JELD-WEN's
            standard written warranty applicable to the
            [doorskins] (the "Specifications"). If JELD-
            WEN ships [doorskins] that do not meet JELD-
            WEN's Specifications (hereinafter "Defective
            Product")   then  JELD-WEN,   after   notice,
            inspection and verification of the Defective
            Product, will be obliged to reimburse STEVES
            for    the    price    of    the    Defective
            Product. . . . Any additional costs over the
            price of the Defective Product shall be
            negotiated . . . on a case by case basis.
            JELD-WEN will not be liable for any claim by
            STEVES for Defective     Product caused   by
            STEVES' own negligence.

Id. § 8.
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      In COUNT TWO of the Complaint, Steves asserted that JELD-

WEN   violated     this       provision       in    two    ways.     First,     JELD-WEN

allegedly supplied Steves with defective doorskins and did not

reimburse Steves for the price of those doorskins after notice

and inspection. Second, Steves claimed that the Supply Agreement

obligated JELD-WEN to reimburse Steves for the full cost of its

interior    molded     doors     that    incorporated        defective        doorskins.

According to Steves, even though Section 8 ostensibly permitted

JELD-WEN to negotiate reimbursement for such costs on a case by

case basis, JELD-WEN had consistently reimbursed Steves for the

full door cost before JELD-WEN's 2012 acquisition of CraftMaster

Manufacturing,     Inc.       ("the   2012     Merger"),       but   it    unilaterally

ceased such practice after that date in order to harin Steves.^

      At trial, the jury agreed with both arguments. The jury

first concluded that JELD-WEN breached Section 8 by supplying

Steves   with    defective      doorskins          and   failing     to    reimburse   it

appropriately.     As     a    result    of    that      breach,     the   jury     found,

Steves had suffered $441,458 in damages. Jury Verdict (ECF No.

1022) nil 8-9.    As      to    the     second       alleged    breach,       the     jury

determined      that    the     Supply    Agreement         required       JELD-WEN    to

reimburse    Steves for        the    cost of       doors   made     using    defective



^ These contentions and theories were also presented as part of
COUNT FIVE, wherein Steves sought declaratory relief on the same
basis as asserted in COUNT TWO. That aspect of COUNT FIVE was
not presented to the jury.
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doorskins      and       that    JELD-WEN      refused       to   reimburse     Steves      for

those    costs.          Consequently,        the     jury    found     that    Steves      was

entitled to an additional $1,776,813 in damages. Id. Hf 10-11.

JELD-WEN      now     challenges        the    jury's     determinations        as   to    both

theories of liability.^

                                          DISCUSSION


I.     Legal Standard

       A court may grant judgment as a matter of law against a

party on a claim if the party "has been fully heard on an issue"

at trial and "the court finds that a reasonable jury would not

have    a legally sufficient evidentiary basis                          to find for         the

party on that issue," assuming that a "favorable finding on that

issue" is necessary for the party to prevail on the claim. Fed.

R. Civ. P. 50(a)(1). In other words, "[j]udgment as a matter of

law 'is properly granted if the nonmoving party failed to make a

showing on an essential element of his case with respect to

which    he     had       the    burden       of    proof.'"      Russell      v.    Absolute

Collection      Servs.,         Inc.,    763       F.3d   385,    391   (4th    Cir.      2014)

(quoting Wheatley v. Wicomico Cty., 390 F.3d 328, 332 (4th Cir.

2004)). To recover for breach of contract under Delaware law.



^ Although JELD-WEN properly moved for judgment as a matter of
law before the case was submitted to the jury. Fed. R. Civ. P.
50(a)(2), the Court took the motion under advisement as to these
two    issues       so    that    it    could       reserve       its   decision     on    the
pertinent legal questions and consider the parties' supplemental
post-verdict briefing. See id. 50(b).
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Steves must prove, for each alleged breach: (1) the existence of

a     contractual        obligation,       (2)     JELD-WEN's        breach       of    that

obligation, and (3) the resulting damage to Steves. Connelly v.

State Farm Mut. Auto. Ins. Co., 135 A.3d 1271, 1279 n.28 (Del.

2016). Thus, if Steves did not provide sufficient evidence for

the jury to conclude that JELD-WEN failed to reimburse Steves

for    defective     doorskins       or    the    cost    of     doors    with    defective


doorskins,     or     if    Steves    failed       to    prove     that    JELD-WEN     was

contractually obligated to do so, then judgment as a matter of

law on the two unresolved grounds underlying Count Two would be

appropriate.

II.    Failure to Reimburse for Defective Doorskins


       The witness on whom Steves relied to explain the defective

doorskin     reimbursement         process        in     detail     was    Doug     Gartner

("Gartner").        He     explained       that    Steves        employees        generally

discovered      the      defects      in    JELD-WEN's           doorskins       when   the

employees flip doorskins from a pallet into a stack for door

construction.       Feb.    2   Trial      Tr.    (ECF     No.    1028)    at     530:9-14.

Defective doorskins were then sent to Steves' vendor debit memo

("VDM") department, where employees prepared a separate VDM for

each    product     with     numerous       details—including             the    size   and

species of the product, its manufacture date, its die number,

and    the   specific      defect.    Id.    at 529:21-530:2.              According     to

Gartner, the employees who are assigned to identify defects are
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trained to detect specific defects and can differentiate between

defects that are caused by JELD-WEN and those that are caused by

Steves (which are not recorded in VDMs because Section 8 of the

Supply Agreement precludes reimbursement for such defects). Id.

at 530:25-532:11; see also Supply Agm't § 8 ("JELD-WEN will not

be liable for any claim by S[teves] for Defective Product caused

by S[teves]' own negligence."). Steves then submitted the VDMs

to JELD-WEN to initiate the reimbursement process. Feb. 2 Trial

Tr.   at 529:4-10.    From   2010 to   2011,   JELD-WEN    responded "very

promptly" after receiving VDMs from Steves, sometimes inspecting

the   defective   doorskin at Steves'      plant and      sometimes simply

extending Steves a credit based on a picture of the defect. Id.

at 529:11-17. After October 2012, however, Steves experienced

more doorskin defects, and JELD-WEN became "much more stringent"

in reimbursing for the defects described in the VDMs. Id. at

528:25-529:9,     532:12-17.   Likewise,   Edward   Steves   stated   that,

before the 2012 Merger, JELD-WEN would generally extend Steves

credit after it submitted letters about doorskin defects. Feb. 3


Trial Tr. (EOF No. 1029) at 679:17-680:1. But, in 2014, there

was a change in procedure.        Following this change in procedure,

JELD-WEN did not accept for reimbursement "a large portion of

those [doorskins]" that Steves had identified as defective. Id.

at 683:3-4.
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       The    jury's    award      of    $441,458         for     unreimbursed        defective

doorskins      was   drawn       directly from             the    identical      VDM    figures

noted    during      the    testimony of            Steves'       damages      expert,       Avram

Tucker      (^'Tucker"),     See    Feb.       7     Trial       Tr.   (ECF     No.   1032)     at

1200:1-4. To calculate that figure. Tucker reviewed a database

with    Steves'      VDMs    from    2015       to       2017,    subtracting         the    total

amount      reimbursed      by     JELD-WEN         for     defective         doorskins       from

Steves'      total     purchase         price       for      doorskins         for    which    it

submitted VDMs. Id. at 1199:6-14, 1200:1-4. He did not elaborate

on     Gartner's     and     Edward      Steves'          statements          about    the    VDM


process, or testify further about the specific details of the

VDMs that he reviewed.


       JELD-WEN argues that this evidence does not support the

jury's conclusion that JELD-WEN violated the Supply Agreement by

failing to reimburse for defective doorskins for two reasons.

First, it contends that Section 8's reimbursement obligation is

not implicated here because Steves presented no evidence that

the defective doorskins did not meet JELD-WEN's specifications

or   were    not subject to JELD-WEN's standard                             written   warranty.

Second,      JELD-WEN      says,    Steves         has    failed       to   connect    Tucker's

general damages with particular VDMs, preventing the jury from

being able to determine that any of the unreimbursed doorskins

were     actually       defective         in        a     way      that       would     require

reimbursement.
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        The construction of the Supply Agreement makes JELD-WEN's

first argument unpersuasive. Section 8 only requires JELD-WEN to

reimburse Steves for the price of the defective doorskins—after

notice, inspection, and verification by JELD-WEN—"[i]f JELD-WEN

ships [doorskins] that do not meet JELD-WEN^ s Specifications.^^

Supply        Agm't        § 8     (emphasis           added).        The     meaning        of

"Specifications" is unclear given the ambiguous structure of the

preceding sentence: "The [doorskins] will at all times be of a

quality          satisfactory            to     S[teves],         meeting          JELD-WEN's

specifications, fit for the intended purpose, and subject to

JELD-WEN's         standard        written        warranty       applicable          to     the

[doorskins] (the 'Specifications')." Given that the definition

parenthetical follows a list of items, "Specifications" as used

in   the    reimbursement          provision       could    refer      to    one    of    three

things: (1) the same "specifications" that are mentioned in the

list;      (2)    the    "standard        written      warranty     applicable       to     the

[doorskins]"; or (3) some collective standard that includes all

four things in the list. Applying                       the first two definitions

would, in JELD-WEN's view, compel the Court to grant judgment as

a    matter      of     law   because         Steves   allegedly       did    not    present

evidence      about      JELD-WEN's       specifications         or    standard      written

warranty.        Steves,      on   the    other     hand,   argues      that       the    third

definition is most appropriate based on the substance of the

negotiations underlying the Supply Agreement.
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      Steves' interpretation of the meaning of "Specifications"

is   reasonable;        without    any clear guidance          in Section 8,           the

definition could easily apply collectively to all four terms in

the list. In addition, Steves presented sufficient evidence at

trial to convince the jury to adopt its reading.

      The Supply Agreement specifically prohibits resolving this

definitional ambiguity against either Steves or JELD-WEN as the

drafter of the contract. See id. § 17 ("No ambiguity shall be

construed against any party based upon a claim that said party

drafted any language in question."). Nonetheless, Delaware law

allows extrinsic evidence (such as the parties' negotiations,

industry custom, or course of performance) to be considered in

deciding between competing reasonable interpretations. Salamone

V. Gorman, 106 A.3d 354, 374 (Del. 2014); LSVC Holdings, LLC v.

Vestcom     Parent       Holdings,      Inc.,    No.    CV    8424-VCMR,        2017    WL

6629209,     at    *6    (Del.    Ch.    Dec.    29,    2017);    see    also      United

Rentals, Inc. v. RAM Holdings, Inc., 937 A.2d 810, 834 (Del. Ch.

2007).     Indeed,      the   Court     instructed      the   jury     that   it     could

consider those factors to interpret the appropriate meaning of

Section 8. See Jury Instructions (ECF No. 1025), Instruction No.

40; see also Del. P.J.I. Civ. § 19.15 (2000).

      At   trial,       Edward    Steves—who     negotiated      the    terms    of    the

Supply Agreement on Steves'               behalf—testified: (1)          that he       was

"primarily        interested"      only     in    the     requirement         that     the
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 doorskins ''be of a quality satisfactory to S[teves]"; and (2)

 that Steves was not aware of doorskin specifications that JELD-

 WEN may have had          when executing the Supply Agreement in May

 2012.    Feb.    3     Trial    Tr.    at        622:16-623:18.       Witnesses     also

 described aesthetic defects that made certain JELD-WEN doorskins

 unsatisfactory to Steves. See Steves Suppl. Response (ECF No.

 1282) at 1 (summarizing testimony). Consequently, even if Steves

 presented no evidence that the doorskins did not meet JELD-WEN's

 specifications^ or were not subject to its standard                              written

 warranty, the jury could have relied on the foregoing evidence

 to conclude that "Specifications" included all four items in the

 preceding list and that some doorskins did not satisfy Steves'

 subjective      quality expectations.^             Accordingly,       JELD-WEN     would



 ^ A JELD-WEN witness, Stephen Fancher ("Fancher"), stated that
 JELD-WEN provided Steves           with its technical specifications in
 September 2014 at the latest, see Feb. 9 Trial Tr.                             (ECF No.
 1034) at 1797:7-24, so Steves would have been aware                            of those
 specifications when submitting its VDMs to JELD-WEN from 2015 to
 2017.    Nonetheless,      Fancher     also       testified      that    reimbursement
 claims        typically        concern           "more      aesthetic,          physical
 characteristics"        that    are    not       addressed      in   those     technical
 specifications,  and  that   JELD-WEN  has  separate  aesthetic
 specifications that it never provided to Steves. Id. at 1824:5-
 16, 1829:5-10. Accordingly, Steves' failure of proof would not
 doom    its   defective   doorskins      claim      were   it    based   on    aesthetic
 defects not covered by JELD-WEN's technical specifications.

^ Fancher indicated that whether doorskins are "of a quality
satisfactory       to     Steves"      can    be     determined       objectively     by
assessing    whether           the   doorskins   "meet[]    JELD-WEN's
specifications." See         Feb. 9 Trial Tr. at 1826:6-1828:10. This
testimony       appears    to   conflict          with    Steves'     more     subjective
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 have needed to reimburse Steves for doorskins that were not of a

 quality satisfactory to Steves because those doorskins would not

 have met all four elements of JELD-WEN's "Specifications."

         JELD-WEN'S       second    argument,          however,    makes     the    proper

 meaning     of     "Specifications"            a     moot     point.    Steves'      claim

 essentially       asks    the     jury    to    infer    that    JELD-WEN      failed   to

 reimburse Steves for $411,458 worth of doorskins with aesthetic

 defects based on the following general facts; (1) the quality of

 JELD-WEN's       doorskins       declined       at    some    point    after   the    2012

 Merger; (2) Steves' employees inspected the doorskins closely

 before preparing VDMs and submitting them to JELD-WEN; and (3)

 JELD-WEN consciously changed its course of performance under the

 Supply Agreement when Kirk Hachigian ("Hachigian") became JELD-

 WEN's CEO in 2014, insisting on pre-reimbursement inspections

 where     before     it    had     accepted         Steves'     representations      that

 particular       doorskins      were     not    of    satisfactory      quality.     These

 circumstances, Steves argues, were sufficient to permit the jury

 to   decide      that     Steves       had     correctly       identified      defective

 doorskins     that    JELD-WEN      could       not    refuse    to    reimburse,    even

 after inspection and verification.




 understanding of the phrase "satisfactory to Steves," but the
 jury could have weighed the evidence and interpreted the phrase
 based on which evidence it found persuasive.

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        Yet this inferential chain is undermined by trial evidence

 casting doubt on Steves' assessment of doorskin defects. Relying

 on    circumstantial       evidence      about    the     VDM     process        instead    of

 direct    evidence     about      the    specific       VDMs      supporting        Tucker's

 damages    figure     is    not   inherently          problematic;         judgment    as    a

 matter of law may not be granted if the evidence puts a jury's

 inferences      "^within      the      range     of     reasonable         probability.'"

 Bennett v. CSX Transp., Inc., 552 F. App'x 222, 226 (4th Cir.

 2014) (quoting Lovelace v. Sherwin-Williams Co., 681 F.2d 230,

 241    (4th    Cir.   1982)).       At    the     same       time,    "^the       necessary

 inference      [cannot     be]    so    tenuous       that   it    rests     merely    upon

 speculation and conjecture.'" Id. (quoting Lovelace, 681 F.2d at

 241). Here, the inference proposed by Steves was that the VDMs

 for    unreimbursed        doorskins      (that       Tucker      reviewed)        actually

 contained genuine defects and thus they were improperly rejected

 for reimbursement after inspection.                      The jury obviously drew

 that    inference.         However,      that     inference          was    based     on    an

 unstable foundation. Whatever the detail involved in Steves' VDM


 process,      the   Supply   Agreement         preserves       the    possibility      that

 JELD-WEN may refuse to reimburse Steves for defective doorskins

 "after    notice,     inspection        and    verification          of    the    Defective

 Product." Supply Agm't § 8; see also Feb. 3 Trial Tr. at 776:25-

 777:4. Thus, general evidence about the VDM process would only

 suffice to support this claim if that evidence showed that the

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 procedure      reliably identified                 defective     deerskins.          Yet Gartner

 conceded      that   Steves       sometimes         submitted      claims      for     an    entire


 pallet of deerskins where only some were actually determined to

 be     defective,     making       it     possible          that   some        deerskins         were

 wrongly claimed as defective. Feb. 2 Trial Tr. at 544:13-545:9.

 Similarly,        Steves'         internal          documents         suggest         that       some

 deerskins      for    which       Steves       had       sent    VDMs    to     JELD-WEN         were


 determined to be usable after JELD-WEN inspected them. See ECF

 Nos. 1114-7, 1114-8. There is no doubt that the VDMs upon which

 Tucker    based      his    calculation            might    pertain      to    deerskins         with

 actual    defects,        but    this    evidence        creates      serious     doubt as        to

 the probability, or the extent, of such defects. Accordingly,

 the ''mere possibility" that JELD-WEN failed to reimburse Steves

 for    defective      deerskins         is    not       enough   to     sustain       the    jury's

 inference      in    that       regard.      See     Bennett,      552    F.     App'x      at   226

 (quoting Lovelace, 681 F.2d at 241).

        Furthermore, JELD-WEN's changed course of perfoirmance does

 not    make    the    existence         of    actual       defects       any    more     probable

 because    the      evidence      does       not    show    that   JELD-WEN       altered        its


 course    of     performance        under          the   Supply       Agreement.       Gartner's

 testimony about           JELD-WEN's         practically reflexive               reimbursement

 of Steves' VDMs related to the period between 2010 and 2011,

 well    before      the    Supply       Agreement          was   executed       in    May    2012.

 During    that      period,       the    parties         performed       under    a    different

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 contract with a separate doorskin quality provision. See ECF No.

 1192-3, § 8. Edward Steves' testimony also seems to pertain to

 the period before the 2012 Merger, and his testimony does not

 suffice to establish a course of performance under Section 8

 during   the     short     time   between     the   execution    of    the   Supply

 Agreement and the closing of the 2012 Merger in October 2012.

 See Summary Judgment Op. at 5. Accordingly, neither Gartner's

 nor   Edward     Steves'    statements      support    Steves'   assertion      that

 JELD-WEN     changed       its    doorskin    reimbursement      approach       when

 Hachigian took over JELD-WEN.

       Moreover, viewing JELD-WEN's doorskin inspection process as

 a changed course of performance instead of as an exercise of its

 contractual right would render the inspection clause in Section

 8 mostly impotent. It would make little sense for JELD-WEN to

 inspect doorskins with claimed defects if Steves' VDM process

 was   always     to   be    accepted     without      challenge.      Viewing   the

 evidence in the way that Steves suggests thus produces a result

 that is contrary to a core principle of Delaware contract law.

 See O'Brien v. Progressive N. Ins. Co., 785 A.2d 281, 287 (Del.

 2001) ("Contracts are to be interpreted in a way that does not

 render     any    provisions      illusory     or     meaningless."      (internal

 quotations omitted)). As a result, Steves' argument cannot be

 credited.




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        For    these     reasons,      Steves      did        not    present       sufficient

 evidence to allow the jury to infer that JELD-WEN wrongfully

 failed   to    reimburse       Steves for        $411,458      because       of    defective

 doorskins. Therefore, judgment as a matter of law on COUNT TWO

 will be granted to the extent that the claim is based on that

 theory and paragraphs 8 and 9 of the verdict will be vacated.


 III. Failure to Reimburse for Cost of Doors That Incorporated
        Defective Doorskins


        Gartner    also    provided      the      bulk     of       the    testimony      about

 reimbursement from JELD-WEN for Steves' doors that incorporated

 defective      doorskins.       As    discussed          above,          Steves    employees

 visually      inspected    doorskins        for        defects      in     the    course    of

 assembling a door. However, defective doorskins were included in

 finished doors that Steves sold to its customers, in some cases

 because the defects could not be identified until after the door

 is    manufactured.      Feb.    2    Trial      Tr.    at    536:17-537:12.         When   a

 customer rejected a door as defective, a Steves sales manager

 completed     a   field    inspection         report         {"FIR")       with    the   door

 description, the identifier number, and the specific defect. Id.

 at 535:11-20. If Steves determined that the door had a defect,

 the   customer       received   a credit from            Steves for          the   purchase

price     of    the     door.    Id.    at     535:20-23,           537:13-15.      Although

customers sometimes returned the defective doors to Steves, they

 were most often disposed of by the customers themselves because


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 of the shipping cost of returning the doors to Steves. Id. at

 538:15-539:7. Sam Steves generally confirmed these details. See

 Jan. 29 Trial Tr. (ECF No. 1027) at 346:15-347:2.

        According       to    Gartner,      in       2010    and    2011,   Steves     sought

 reimbursement from JELD-WEN for the full cost of the doors with


 defective doorskins—i.e., the sale price that Steves refunded to

 the customers—because JELD-WEN would typically pay that entire

 amount.^ In those situations, Steves would submit a VDM for the

 defective door to JELD-WEN, just as it did with the defective

 doorskins.    Feb.     2    Trial    Tr.   at     537:16-25.       Sam   Steves   testified


 that   this   practice         continued       after       the    Supply Agreement       took

 effect. For example, he described a VDM submitted to JELD-WEN in

 June   2013      for   doors       with    defective        doorskins,       which    led    to

 credits by JELD-WEN for the full sale prices of the doors. See

 Jan. 29 Trial Tr. at 349:2-350:2; ECF No. 1149-1. Gartner also

 testified     that Steves          sought a substantial reimbursement from

 JELD-WEN    in    2014      for   the   full    amount      that    Steves    refunded      one


 customer,     REEB,      for      doors    with      defective      doorskins.       JELD-WEN

 only paid ''a small portion" of that claim. Feb. 2 Trial Tr. at

 533:21-535:10; see also ECF No. 1149-2.




 ^ Fancher explained that JELD-WEN "never [had] a policy . . . to
 pay on doors," but did so "[a]s goodwill." Feb. 9 Trial Tr. at
 1809:21-1810:4.

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         However, according to Sam Steves, JELD-WEN adopted a policy

 in 2015 to reimburse Steves for the defective doorskins only,

 rather than       the      full cost of       the doors.         Thus,     even "[i]f one

 skin causes an entire door to fail, [JELD-WEN] will only credit

 for     one   skin."        Jan.     29   Trial      Tr.    at     350:3-23.       JELD-WEN


 apparently told Steves that "[t]here was a specific change in

 their [door reimbursement]                policy," which applied               whether the

 doors     with       defective      doorskins        were   sold      to      customers       or

 remained in Steves' manufacturing plant. Id. at 351:3-23. This

 shift     followed         what     Fancher        characterized         as    a   "general

 direction"       from      JELD-WEN's     management        to    "tighten"        its    door

 reimbursement process. Feb. 9 Trial Tr. at 1810:5-22. Indeed, e-

 mails between JELD-WEN employees in late 2014 and early 2015

 stated that JELD-WEN, largely at Hachigian's instruction, had to

 "take a very hard line" and "get tough" on all claims; require

 "complete data [and] photos" before paying claims on doors, ECF

 No.   1149-4;        and   avoid    the   "full     refund[s]"        that    JELD-WEN    had

 previously given to Steves. ECF No. 1149-5.

       After JELD-WEN started taking that approach, Steves decided

 in early 2015 to stop submitting VDMs to JELD-WEN for doors with

 defective       doorskins.         Feb.   2   Trial     Tr.      at    538:1-4.     Gartner


 explained that giving JELD-WEN the opportunity to inspect the

 doors    with    defective         doorskins,       which   JELD-WEN       required      as   a

 predicate       to    reimbursement,          was    financially         impractical      for

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 Steves. The cost of the customer's refund plus return shipping

 for    the    door far    outweighed       the    potential    reimbursement     from

 JELD-WEN: ''If a door sells for [$] 25 to $125, and we're able to

 get five or $6 back on a skin, it doesn't pay to pay maybe

 [$]500 to $1,000 in freight to bring that product back." Id. at

 538:5-10.


        As with the defective doorskins claim, the jury's award of

 $1,776,813      for    unreimbursed       doors    was    identical   to    Tucker's

 damages      figure.     See   Feb.   7    Trial   Tr.    at   1200:22-25.    Tucker

 calculated those damages by reviewing a database                      with Steves'

 FIRs    and    VDMs    from    2014   to    2017    for   doors    with    defective


 doorskins, subtracting the small amount reimbursed by JELD-WEN

 for the REEB doors claim® from the total cost to Steves of making

 those defective doors. Id. at 1200:8-1201:13. He did not testify

 about the       particular defects         identified in the       FIRs and VDMs

 that he reviewed.


        JELD-WEN asserts that judgment as a matter of law should be

 granted       because,    considering       this    evidence,     Steves   has   not

 proven:      (1)   that   the    Supply     Agreement     required    JELD-WEN    to

 reimburse Steves for the cost of doors with defective doorskins;

 or (2) that, even if some obligation existed, JELD-WEN breached




 ® Steves did not reimburse the cost of doors beyond the doorskin
 prices for any doors from 2015 to 2017. Feb. 7 Trial Tr. at
 1201:9-13.

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 it   with   respect   to   the   unreimbursed       doors   used   in   Tucker's

 calculation. These arguments are addressed in turn below.

       A. Existence of Contractual Obligation

       Whether Steves should       have    been reimbursed for       doors    with

 defective    doorskins     depends       on   the    effectiveness      of   the

 additional costs provision in Section 8 of the Supply Agreement.

 Under that provision,       [a]ny additional costs over the price of

 the Defective Product shall be negotiated by [Steves and JELD-

 WEN] on a case by case basis." Supply Agm't § 8. Edward Steves

 acknowledged that this clause gives JELD-WEN ''the right to not

 pay [Steves], if that's [JELD-WEN's] position." Feb. 3 Trial Tr.

 at 779:10-11. Consequently, if the provision is valid, the jury

 could not award damages for the full cost of the doors because

 JELD-WEN was not required by Section 8 to reimburse Steves for

 anything more than the price of defective doorskins, and thus

 that JELD-WEN's failure to do so was not a breach of contract.

      Delaware law clearly permits damages limitations like the

 provision in question. The Delaware Code notes that "the effect

 of provisions of the Uniform Commercial Code may be varied by

 agreement." Del. Code tit. 6, § 1-302(a). Moreover, an agreement

"may provide for remedies in addition to or in substitution for

those provided in this Article [concerning contract damages] and

may limit or alter the measure of damages recoverable under this

Article." Id. § 2-719(1)(a). The additional costs provision in

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 the Supply Agreement operates as a restriction on the damages

 available       to    Steves,      effectively           protecting     JELD-WEN        from

 liability for costs beyond the price of defective doorskins.

 Section     2-719     allows      the    limitation       in   Section     8    unless    it

 ''fail[s]      of    its    essential      purpose"       or   is    ''unconscionable."

 Id. § 2-719(2)-(3).

         Steves does not argue that the provision is unconscionable.

 Instead,       Steves      contends     that       the   limitation      fails     of    its

 essential purpose because the doorskins that were incorporated

 into doors contained latent defects that Steves could not have

 discovered during a reasonable inspection. In support of this

 argument, Steves points to Crowell Corp. v. Himont U.S.A., No.

 86C-11-125-JEB,         1996 Del.        Super.     LEXIS 400        (Del. Super.        Ct.

 Sept.     4,    1996),       in    which       a    contract        provision      limited

 plaintiff's damages to the purchase price of a laminate sold by

 defendant that plaintiff used in its sealing tape (which was in

 turn used by plaintiff to manufacture cardboard cartons). See

 id. at *1, *3-4. The court found that the laminate contained a

 latent defect,          which became apparent when the tape began to

 delaminate after it was manufactured. Id. at *4-5. As a result,

 the damages limitation failed of its essential purpose because

 the defect "presented changed circumstances" between the parties

 and, more importantly, "operated to deprive [plaintiff] of the

 substantial         value    of    its     bargain"        given     the       substantial

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 additional      expenses    caused         by    the    defect.    Id.       at   *9.   Here,

 apparently relying solely on Gartner's testimony, Steves asserts

 that the doorskin defects that led customers to reject doors

 were latent because they could not have been discovered through

 Steves' inspection during the skin-flipping process. Thus, says

 Steves,    here,     as   in    Crowell,         the    doorskin      defects       deprived

 Steves of the value of its bargain with JELD-WEN because it was

 forced to incur unexpected losses by refunding customers for the

 purchase   price     of full      doors,         which are exponentially higher

 than doorskin prices. Therefore, in Steves' view, JELD-WEN must

 pay any consequential and incidental damages that flow from the

 latent    defects,    see      Del.    Code tit.         6, §§ 2-714, 2-715,            which

 would include the cost of doors that JELD-WEN knew Steves would

 use the doorskins to manufacture.


      This argument is appealing in theory but is unsupported by

 the evidence at trial.           Numerous courts other than Crowell have

 noted    that   contractual       limitations           of   remedy     to   the    purchase

 price of defective goods alone fail of their essential purpose

if those goods contain latent defects. See, e.g.. Viking Yacht

 Co. V. Composite One LLC, 385 F. App'x 195, 208 (3d Cir. 2010)

( '[W]hen goods have latent defects which are not discoverable

upon receipt and reasonable inspection, a limitation of remedy

to   return      of   the       purchase         price    fails     of    its       essential

purpose.'"        (alteration          in        original)      (quoting           Fiberglass

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 Component Prod., Inc. v. Reichhold Chems., Inc., 983 F. Supp.

 948, 960 (D. Colo. 1997))); Lutz Farms v. Asgrow Seed Co., 948

 F.2d 638,       646     (10th    Cir.    1991)       ("^ [0]ne situation in              which a

 limitation of remedy to return of the purchase price has been

 held to fail of its essential purpose is when goods have latent

 defects which are not discoverable upon receipt and reasonable

 inspection . . .                (alteration in original) (quoting Leprino

 V.   Intermountain            Brick    Co.,     759    P.2d        835,    837       (Colo.   App.

 1988))).       But     that    situation       only    arises        where      the    defect    at

 issue     is    clearly        latent.     In        Crowell,       for     instance,         trial

 evidence established that the defect in the laminate was caused

 by   "a    sudden       shift    in     viscosity        at    temperatures           below     the

 application          temperature,"         and        thus     could        not       have    been

 discovered by reasonable                inspection or observation. 1996 Del.

 Super.     LEXIS       at   *4-5.      Here,    in     contrast,          the   only    evidence

 concerning latent doorskin defects is Gartner's statement that

''[sjome        defective       doorskins        literally          can't        be    identified

 through     the      plant     where    they're       going     to    manifest        themselves

 with the problem once they're in the field," followed by a brief

 discussion       of    moisture        content       issues    as     an    example.      Feb.   2

 Trial     Tr.     at    536:21-537:12.          No     witnesses—including              Gartner,

 Fancher,       Sam    Steves,    Edward        Steves,       and   Tucker—stated         whether

 those     moisture      content problems             affected        the   particular doors

 for which Steves issued refunds to customers and is now seeking

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 damages.    Nor       did    any    of    those     witnesses       testify      about      the

 particular defects associated with each door. The doors may have

 been inadequate because of latent doorskin defects, but it is

 equally possible that the defects in those doors were defects

 that Steves' skin-flippers could (and should) have noticed. The

 record provides no evidence that the jury could have used to

 decide between these alternatives.^ Consequently, the record does

 not establish that the additional costs limitation in Section 8

 fails of its essential purpose.

       Alternatively,          Steves      contends,      JELD-WEN      committed       to    a

 course     of        performance         under     Section      8    by     consistently

 reimbursing Steves for              the    full cost of       doors       with    defective

 doorskins, essentially rendering the additional costs provision

 meaningless.         A    course    of     performance       between      parties      to    a

 transaction          exists        if:     'MD       [t]he      agreement         of     the

 parties . . . involves repeated occasions for perfomance by a

 party; and (2) [t]he other party, with knowledge of the nature

 of the performance and opportunity for objection to it, accepts

 the   performance         or acquiesces          in it   without     objection." Del.

 Code tit.       6,    §   1-303(a).        Citing    Gartner's       and    Sam    Steves'



 ^ In fact, Gartner also testified—in the same answer quoted
 above—that defects that could not be discerned through visual
 inspection were only    [o]ccasional[]." Feb. 2 Trial Tr. at
 536:19. This Statement suggests that few, if any, of the doors
 involved    in       these   claims       actually    had    doorskins      with    latent
 defects.

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 testimony about JELD-WEN's ^^practice" of reimbursing Steves for

 the   full    costs       of    doors     with    defective      doorskins          without

 inspection by JELD-WEN, Steves argues that JELD-WEN's conduct

 constituted a course of performance from which JELD-WEN could

 not deviate, no matter what Section 8 says.

       This assertion is flawed in two respects. First, the record

 that purportedly shows a course of performance does not satisfy

 both elements of Section 1-303(a). Based on the clear language

 of Section 8, and the                Supply Agreement in general,              it seems

 clear that the Supply Agreement contemplates ''repeated occasions

 for    performance"            by     JELD-WEN,        id. § 1-303(a)(1)—both           by

 supplying doorskins, and by reimbursing Steves for at least the

 cost of doorskins where they do not meet a certain quality. So

 the first part of § 1-303(d) is satisfied.

       However,      the    record        sheds    very       little    light    on     the

 motivation    underlying            JELD-WEN's   earlier      reimbursement of         the

 full door costs, or how it understood those actions with respect

 to the additional costs provision. JELD-WEN might have believed—

 as Steves suggests—that the provision effectively required JELD-

 WEN   to   negotiate      reimbursement          for   the    door    costs    in    every

 situation, or it might simply have been negotiating "on a case

 by case basis" as Section 8 demands, deciding more often than

 not   that   full     reimbursement         was    justified.         The   paucity     of

 information      about         the      frequency       and     context        of     door

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 reimbursements, aside from Gartner's and Sam Steves' general

 statements, makes it difficult to distinguish between the two

 options    here.    Thus,      Steves'     assertions     about        course     of

 performance rest on a weak foundation.

       Second, and more problematic for Steves, the clear meaning

 of the additional costs provision makes any JELD-WEN course of

 performance irrelevant. ''If a contract is unambiguous, extrinsic

 evidence may not be used to interpret the intent of the parties,

 to vary the terms of the contract or to create an ambiguity."®

 Eagle   Indus.,    Inc.   v.   DeVilbiss   Health     Care,     Inc.,   702     A.2d

 1228, 1232 (Del. 1997). And,

            a contract is ambiguous only       when the
            provisions in controversy are reasonably or
            fairly      susceptible     of     different
            interpretations or may have two or more
            different meanings. Ambiguity does not exist
            where the court can determine the meaning of
            a contract without any other guide than a



 ® In some cases, extrinsic evidence about course of performance
 may   help  reveal  a  latent   ambiguity,   which  exists  when
 contractual language that is unambiguous on its face becomes
 ambiguous when applied. Motors Liquidation Co., Dip Lenders Tr.
 V. Allianz Ins. Co., No. CVN11C12022FSSCCLD, 2013 WL 7095859, at
 *4 (Del. Super. Ct. Dec. 31, 2013). But no apparent latent
 ambiguities exist here, and neither party has suggested one. In
 addition, a course of performance may be "relevant to show a
 waiver or modification of any term inconsistent with the course
 of performance." Del. Code tit. 6,   § 1-303(f). However, Steves
 has never argued that JELD-WEN waived its right to negotiate
 additional costs on a case by case basis. Even if Steves had,
 the   record   contains    minimal   evidence    to     allow    the    Court    to
 evaluate whether JELD-WEN's performance was inconsistent with
 the additional costs provision. Thus, these possible uses for
 course of performance evidence are inapplicable here.

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             knowledge of the simple facts on which, from
             the nature of language in general, its
             meaning depends.

 Rhone-Poulenc Basic Chems.             Co. v. Am. Motorists Ins.                  Co., 616

 A.2d 1192, 1196 (Del. 1992) (internal citations and quotations

 omitted).       Nothing    about      the     additional          costs    provision       in

 Section     8    is     ambiguous:      the       terms     all     have    common-sense

 definitions,       and    the    parties      do    not     dispute       that    the    only

 marginally       ambiguous        phrase,         "additional       costs,"        can    be

 construed to include door costs. That Steves believes the clause


 to be ambiguous does not make it so. Given the absence of any

 uncertainty,       JELD-WEN's         previous       actions        with     respect      to

 reimbursement for doors with defective doorskins cannot change

 the     plain     meaning        of    the        additional        costs        provision.

 Accordingly, the Supply Agreement did not obligate JELD-WEN to

 reimburse Steves in every instance for the refunded price of

 defective       doors    that    Steves     paid    to    customers,        and    JELD-WEN

could not have breached the contract by failing to do so. In

 other words, the jury could not properly have awarded damages

for a breach of a non-existent obligation. Judgment as a matter

 of law can, therefore, be granted as to the unreimbursed doors

claim on this basis alone.


        B. JELD-WEN's Breach


        Even assuming that the Supply Agreement required JELD-WEN

to     reimburse    Steves       for   the   full     door    costs,       there    was   not


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 enough evidence for the jury to conclude that JELD-WEN breached

 that obligation.          JELD-WEN contends that the evidence                          does not

 establish a breach of the additional costs provision for two

 reasons. First, it asserts that Steves' failure to give JELD-WEN

 notice of the purported defect and an opportunity to inspect

 prevented    JELD-WEN from performing consistent with Section 8.

 Second,    repeating       an     argument        regarding        the    doorskins         claim,

 JELD-WEN     says    that       Tucker's          calculations           are    fundamentally

 unsound    because       Steves      has   not     shown     that    the       doors   on    which


 those     damages    are       based       had       doorskins      that       were     actually

 defective.


        The first argument relies on another part of Section 8 that

 is discussed in more detail above,                         which states that JELD-WEN

 must    reimburse        the    cost       of    defective       doorskins        only       after

''notice, inspection and verification." As JELD-WEN points out,

 without    the    opportunity          to       inspect      the    allegedly          defective

 product,    it    cannot verify            that      the    defect is      attributable        to

 JELD-WEN.     This       is     equally         true       for   doors     with        defective

 doorskins    as     it    is    for    the       defective         doorskins      themselves.


 Moreover, evidence at trial indicated that JELD-WEN was not able

 to inspect some of the doors included in the REEB claim. And, of

 course,    JELD-WEN      had    no    notice      of   defective         doorskins      in   non-

 REEB    doors     after        early       2015,       given       that    Steves       stopped

submitting door reimbursement VDMs to JELD-WEN.

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        Nonetheless,             Steves'        lack     of         notice       is      not    an

 insunnountable         obstacle          because      the    jury    considered         evidence

 that    any     door       reimbursement         claims      would       have    been    futile.

 Delaware courts have recognized that "the law does not require a

 futile act." Reserves Development LLC v. R.T Props., L.L.C., No.

 CIV.A. S07C-11034RFS, 2011 WL 4639817, at *7 (Del. Super. Ct.

 Sept. 22, 2011) (citing, inter alia, Morgan v. Swain, No. CIV.A.

 08A04003 RFS, 2009 WL 3309173, at *4 (Del. Super. Ct. Sept. 17,

 2009);    State       v.    Hearn,       697   A.2d     756,       758    (Del.      Super.   Ct.

 1997)).      Steves    notes       that there          was    no    point in         making   the

 defective doors available for inspection after a certain date

 because JELD-WEN, according to Gartner and Sam Steves, had made

 clear    that    it    would      not     reimburse     Steves       for    defective     doors


 under any circumstances. E-mails from Fancher and Hachigian that

 were    presented          at    trial    reiterated         JELD-WEN's         uncompromising

 stance.


        Considering this evidence, the facts of this case do not

 seem    so    different         from     those    in   Reserves          Development,     where

 notice of default was not required because it "would not have

 led to agreement or compromise." 2011 WL 4639817 at *9. To the

 contrary, the parties here appear to have been similarly unable

 to   resolve     their          dispute    about      reimbursing         costs      beyond   the

 defective doorskins. For that reason, the Court instructed the

 jury that, to prevail on its defective doors claim, Steves had

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 to prove, among other elements,                  that it    ^^gave   notice       [of the

 defective doorskins in the doors] to JELD-WEN and an opportunity

 to inspect those doors, or . . . that doing so would have been

 futile.       See   Jury    Instruction,         Instruction    No.     39    (emphasis

 added). JELD-WEN's belief that Steves' futility argument merely

 goes to the amount of reimbursement Steves might receive, not

 the ability to be reimbursed at all, is irrelevant. The jury had

 more   than    enough      evidence    to   assess    the    strength        of   Steves'

 futility argument, and obviously found it compelling. The Court

 cannot    second-guess       that     determination     or     weigh    the       evidence

 after the fact. As a result, Steves' failure to give notice and

 an opportunity       to    inspect     cannot     subject its        defective      doors

 claim to judgment as a matter of law.®

        Nonetheless, the unreimbursed doors claim suffers from the

 same   problem      as     the   defective       doorskins     claim:    a        lack   of

 evidence about the defects affecting the doors. Of those doors

 that were inspected as part of the REEB claim, JELD-WEN offered

 evidence that a significant percentage were either not defective

 to the point where they were unusable, or they had defects that



 ® This conclusion is not influenced by Steves' brief argument
 that its lack of notice was excused by JELD-WEN's ''unilateral
 change in [its] course of performance" under the additional
 costs provision, which Steves asserts was a breach of the Supply
 Agreement. Steves Suppl. 0pp. (ECF No. 1149) at 23. As detailed
 above, JELD-WEN's earlier conduct is immaterial to the proper
 interpretation of the additional costs provision, and as such,
 cannot be considered as an independent breach of contract.

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 were caused by Steves. Steves' only response—that its doorskin

 inspection procedure was commercially reasonable in the absence

 of     any   specifications           in     the       Supply    Agreement,      see     Del.

 Code tit. 6, § 311—is unpersuasive. Steves is free to employ

 whatever       inspection         procedure       is    reasonable,      but    where    that

 process has such a high rate of error, Steves must put forth

 more    than    generalized         evidence       to    prove   that     the   damages      it

 seeks    relate       to    doors     with    actual       defects.       Tucker's      broad


 testimony about doors is inadequate in that regard. Moreover,

 Steves misinterprets the problem when it characterizes the issue

 as one of certainty in damages estimates. It is clear that there

 must only "be a sufficient evidentiary basis for making a fair

 and     reasonable         estimate     of     damages,         rather    than      absolute

 certainty." Vianix Del. LLC v. Nuance Commc'ns, Inc., No. CIV.A.

 3801-VCP,      2010    WL     3221898,       at    *6    (Del.    Ch.    Aug.    13,    2010)

 (citing Henne v. Balick, 146 A.2d 394, 396 (Del. 1958)). But,

 given the record evidence that many doorskins were not defective

 as defined by Section 8, Steves has not put forth enough other

 evidence to be         able to prove that the                   doors for which it is

 seeking      damages       were    probably       defective.     See     Bennett,      552   F.

 App'x at 226. Consequently, the absence of evidence showing that

 JELD-WEN     breached the Supply Agreement as to the unreimbursed

 doors    provides      an    additional       reason       to    grant    judgment      as   a

 matter of law on that claim.


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        As a last resort, Steves claimed for the first time at oral

 argument    that,      even     if    JELD-WEN         did   not    breach       the    Supply

 Agreement    by    failing      to     reimburse        for    doors     with     defective

 doorskins, it did so by failing to negotiate in good faith

 pursuant     to    the   additional          costs       provision.        The    Complaint

 allegations cited by Steves do not reference any failure to

 negotiate.      See    Compl.    (ECF    No.      5) KH 118-20,        128-32,         179-82.

 Undeterred, Steves seeks leave to amend the Complaint to conform

 to the evidence presented at trial. See Fed. R. Civ. P 15(b)(2).

 However,    Rule      15(b)(2)       ^^requires       that    a    party    expressly         or

 impliedly    consent      to    trial       on    an    unpled      claim     and      not    be

 prejudiced      by doing       so.'' Dan Ryan Builders,                Inc.      v.    Crystal

 Ridge Dev., Inc., 783 F.3d 976, 983 (4th Cir. 2015). Although

 Edward   Steves       noted    JELD-WEN's         refusal     to    negotiate,         Feb.    3

 Trial Tr. at 779:4-6 ("[T]hey also didn't negotiate. . . . [T]he

 contract says you shall be negotiated by the parties on a case-

 by-case basis. And that did not happen."), more is needed to

 show JELD-WEN's implied consent to trial on an unpled claim than

failing to object to a single remark. See Dan Ryan Builders, 783

 F.3d at 983 ("[A party]'s single reference to a breach of the

slope     fill     contract      in    its    pre-trial            memorandum      does       not

constitute       consent.");      Feldman         v.   Pro    Football,      Inc., 419         F.

App'x 381, 390 (4th Cir. 2011) ("[A]lthough a party's failure to

object to evidence regarding an unpleaded issue may be evidence

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 of implied consent to trial of an issue, it must appear that the

 party    understood      the    evidence         was   introduced      to     prove   the

 unpleaded     issue."     (internal         quotation         marks   omitted)).      The

 Feldman predicate is not present here. As a result, there is no

 justification for Steves to conform                    its Complaint to include

 this unpled claim, and Steves cannot rely on the                            refusal to

 negotiate claim to somehow save its damages for the unreimbursed

 doors claim.


       For the foregoing reasons, Steves' claim for damages in the

 amount of $1,776,813 because of JELD-WEN's failure to reimburse

 for   the    cost   of   doors     that     incorporated        defective     doorskins

 fails as a matter of law.



                                       CONCLUSION


       For the foregoing reasons, and to the extent set out above,

 JELD-WEN, INC.'S MOTION FOR JUDGMENT AS A MATTER OF LAW AGAINST

 STEVES   &   SONS,   INC.      (ECF   No.    968)      will    be   granted    and,   the

 verdict on COUNT TWO, paragraphs 8 through 11, will be set aside

 and vacated.


       It is so ORDERED.




                                                          /s/
                                  Robert E. Payne
                                  Senior United States District Judge

Richmond, Virginia
Date: September              2018


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